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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS



  HAITIAN-AMERICANS UNITED INC., et al.,

                                    Plaintiffs,

                               v.                          CIVIL ACTION
                                                           NO. 1:25-cv-10498-RGS
  DONALD J. TRUMP, in his official capacity as
  President of the United States, et al.,

                                    Defendants.


UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF OF THE COMMONWEALTH
   OF MASSACHUSETTS AND THE STATES OF CALIFORNIA, NEW YORK,
   CONNECTICUT, DELAWARE, HAWAI’I, ILLINOIS, MAINE, MARYLAND,
 MICHIGAN, MINNESOTA, NEVADA, NEW JERSEY, OREGON, RHODE ISLAND,
VERMONT, WASHINGTON, WISCONSIN, AND THE DISTRICT OF COLUMBIA AS
    AMICI CURIAE IN SUPPORT OF PLAINTIFF’S MOTION TO POSTPONE
                EFFECTIVE DATE OF ACENCY ACTION

       Proposed Amici Curiae the Commonwealth of Massachusetts, and the States of

California, New York, Connecticut, Delaware, Hawai’i, Illinois, Maine, Maryland, Michigan,

Minnesota, Nevada, New Jersey, Oregon, Rhode Island, Vermont, Washington, Wisconsin, and

the District of Columbia (“States”) move for leave to file an amicus brief in support of Plaintiffs’

Motion to Stay the Effective Date of Agency Action (ECF No. 9). In support of the motion, the

States assert the following:

       1.      The States are sovereign states and are also home to thousands of Haitian and

Venezuelan beneficiaries of Temporary Protected Status (“TPS”) who are affected by the partial

vacatur of the TPS designation for Haiti and the termination and vacatur of the TPS designation




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for Venezuela. 1 Some States are also employers of impacted TPS beneficiaries who perform

important work on behalf of the States and their residents.

        2.      The States support Plaintiffs’ Motion to Stay the Effective Date of Agency Action

because the public interest will be harmed if Haitian and Venezuelan TPS beneficiaries are

stripped of legal status.

        3.      It is within a court’s “sound discretion” whether to permit amicus briefing.

Strasser v. Doorley, 432 F.2d 567, 569 (1st Cir. 1970). Amicus briefing may be permitted “to

assist the court in cases of great public interest by making suggestions to the court, by providing

supplementary assistance to existing counsel, and by insuring a complete and plenary

presentation of difficult issues so that the court may reach a proper decision.” Students for Fair

Admissions, Inc. v. President & Fellows of Harvard Coll., 308 F.R.D. 39, 52 (D. Mass. 2015),

aff’d, 807 F.3d 472 (1st Cir. 2015) (internal citations and quotations omitted).

        4.      The proposed brief will assist the Court in its consideration of the pending

motion, because the States can speak to the irreparable harm the termination and vacaturs of TPS

designations in this case will inflict the States and their residents. Unless postponed, this agency

action will fracture the States’ communities and schools, damage their economies, deplete their

workforces, and compromise public health and public safety within the States.

        5.      Counsel for the States have conferred with counsel of record for the parties in this

case and the Plaintiffs and Defendants do not oppose this motion.




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 USCIS, Termination of the October 3, 2023 Designation of Venezuela for Temporary Protected
Status, 90 Fed. Reg. 9040 (Feb. 5, 2025), https://tinyurl.com/Termination-2023-
Designationhttps://tinyurl.com/ythtkffn.; USCIS, Vacatur of 2025 TPS Decision for Venezuela,
90 Fed. Reg. 8805 (Feb. 3, 2025) https://tinyurl.com/29nu8frv; USCIS, Partial Vacatur of 2024
Temporary Protected Status Decision for Haiti, 90 Fed. Reg. 10511 (Feb. 20, 2025),
https://tinyurl.com/Haiti-Vacatur.
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        6.      A true and correct copy of the States’ proposed brief is attached to this motion as

Exhibit A.

                                         CONCLUSION

        For the foregoing reasons, the States respectfully request that the Court grant the motion

for leave to file the attached brief.


                                              Respectfully submitted,

                                              THE COMMONWEALTH OF
                                              MASSACHUSETTS

                                              By and through its attorneys,

                                              ANDREA JOY CAMPBELL
                                              Attorney General for the Commonwealth of
                                              Massachusetts

                                               /s/ Hannah C. Vail___________
                                              Tasha J. Bahal, BBO # 675935
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             CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7.1

        I, Hannah C. Vail, Assistant Attorney General, hereby certify that I have conferred with
counsel of record for the parties in this case via email on March 19, 2025 in a good faith attempt
to resolve and narrow the issues posed by the motion. I further certify that the motion is
unopposed.


                                                     /s/ Hannah C. Vail
                                                     Hannah C. Vail
                                                     Assistant Attorney General


                                CERTIFICATE OF SERVICE

        I, Hannah C. Vail, hereby certify that I have this day, March 25, 2025, served the
foregoing document upon all parties of record, by electronically filing to all ECF-registered
parties and by sending a copy, first-class mail, postage prepaid to all unregistered parties.

                                                             /s/ Hannah C. Vail
                                                             Hannah C. Vail




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